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                               UNITED STATES DISTRICT COURT

                                    DISTRICT OF CONNECTICUT


MOSSACK FONSECA & CO., S.A, BUFETE                        :   CIVIL ACTION NO:
MF & CO., JÜRGEN MOSSACK and                              :
RAMÓN FONSECA                                             :
                                                          :
                                                          :
                       Plaintiffs                         :   VERIFIED COMPLAINT:
v.                                                        :
                                                          :
                                                          :
                                                          :
NETFLIX INC.                                              :
                       Defendant                          :   OCTOBER 13, 2019

                            PRELIMINARY STATEMENT

       Plaintiffs bring this action for damages and injunctive relief against Defendant

Netflix for Defamation (Libel and Libel Per Se), False Light Invasion of Privacy,

Trademark Infringement by Dilution, and Federal False Advertising.

       In its movie “The Laundromat,” the Defendant defames and portrays the Plaintiffs

as ruthless uncaring lawyers who are involved in money laundering, tax evasion, bribery

and/or other criminal conduct. Academy award winner Gary Oldman plays Plaintiff,

JÜRGEN MOSSACK, whose real name is used in the film. Antonio Banderas plays

Plaintiff, RAMÓN FONSECA, whose real name is also used in the film. In the movie’s

trailer, https://www.youtube.com/watch?v=wuBRcfe4bSo, the opening clips state the

movie is “based on some real shit” and several screens appear asking the question “how

do 15 million millionaires in 200 countries stay rich . . . [answer] with lawyers like

these,” followed by a screen shot of Oldman and Banderas laughing sinisterly, dressed in
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flashy clothing. Throughout the trailer and movie Oldman and Banderas narrate as close-

up bookends, faces to easily attribute criminal and negative innuendo.

       Famous academy award winning actress Meryl Streep, playing recently widowed

Ellen Martin who lost her beloved husband on a fall boat tour, pursues justice after being

told by her lawyer that her de minimis settlement with the tour operator was related to a

recent change in their insurer. Essentially, their new offshore insurance company was

defunct, if it ever existed, and Streep’s lawyer states “so there is confusion over who has

to pay.” The trailer, designed to attract future moviegoers and boost sales, follows this

comment with Streep responding to the lawyer: “so they drown you and 20 twenty other

innocent people,” while another background voice adds “and somebody’s making money

off it.” The dialogue spans clips of Streep mourning at a funeral, then reverting back to

her lawyer’s office where she is given her settlement check and told by her lawyer: “and

it all goes back to this law firm Mossack Fonseca.” In an immediately subsequent clip

Oldman and Banderas, dressed in flamboyant gold colored suits and sporting bowties,

smile and look at one another while elderly people appear to be playing table games at a

flashy nightclub casino in the background.

       The viewer quickly learns that MOSSACK and FONSECA are villains profiting

from the death of 20 people killed in the small town boat tour, as the lawyer chimes in

stating “they’re getting away with murder.” The imputed criminal conduct is

supplemented seconds later when the FONSECA character asks the audience: “So how

does it all work?” In the immediately following clip depicting Streep and her daughter

pushing a cart in a grocery store, the answer is provided as Streep exclaims: “bribery,

corruption, money laundering, millions and millions and millions of dollars,” as the scene



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pans away to clip showing a “download” of hacked “Panama papers” in progress at “508,

905” of “11, 528, 218.” The files being downloaded are the notorious 11.5 million

hacked documents imparted to a German reporter who enlisted the International

Consortium of Investigative Journalists (ICIJ) to unleash the stolen data, worldwide, in

articles and other media accounts of politicians, criminals, and other wealthy people

using offshore companies to hide assets and launder money.

       The “download” frames are followed by a statement echoing the message of the

film: “somebody needs to sound the alarm,” whereupon Banderas is bombarded with

ringing and beeping of multiple phones. Immediately thereafter, other clips of people

apparently connected to offshore accounts through the law firm of Mossack Fonseca

exclaim “shit” and/or other expletives in different languages, including an English

speaking lady at a bar, a gentlemen dressed in garb resembling a Sheik, two Russian

gangsters, and the wife of a Chinese politician driving by some soldiers. The clear

implication is that all of these people are associated with criminal activity, and they have

been “outed” in the “hack and release” of the firm’s client information. As the scene

returns, it depicts Oldman and Banderas in a Board Room in front of a huge shot of the

law firm’s logo, which includes the names of Plaintiffs MOSSACK and FONSECA.

The two actors are depicted with concerned “we’ve been outed” expressions. The

implications and innuendo converge to cast Plaintiffs in the light of mastermind criminals

whose crimes include, but are not limited to, murder, bribery, money laundering and/or

corruption. Defendant’s trailer and movie have clearly defamed the Plaintiffs and cast

them in the false light of criminality.




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       In the course of the movie the Defendant also uses the Plaintiffs’ already public,

famous and/or notorious trademarked logo in disparaging ways. The trailer and movie

incorporate a trademarked logo which is registered in Colombia and protected under the

1929 General Inter-American Convention for Trade Mark and Commercial Protection, a

self-executing Treaty, wherein both Colombia and the United States are member States,

and wherein member states are authorized to pursue protection and infringement claims

using the legal system in the member State of the offending party.

       The Plaintiffs did not authorize, permit, assign, or license Defendant’s use of their

protected logos. The Defendant’s use and display of the logo in the “Laundromat,”

greatly diminishes and/or dilutes its value and goodwill. Defendant’s trailer and movie

also utilize the logo unnecessarily, placing it in scenes that allow the viewer to associate

it with very serious criminal and unethical behavior. In doing so, the Defendant infringes

upon the protected logos, disparaging and tarnishing the same for no necessary or

colorable artistic purpose, or other constitutional benefit of expression. The logo is used

approximately 8 times between the trailer and the movie proper, exposed on the side of a

building, on a client folder, twice behind a transparent door in an office, on a background

re-broadcast of a CNN news segment, and three times in scene backgrounds projected on

large screen televisions, including one instance lasting approximately 30 seconds.

Clearly, the Defendant uses the logo in its trailer to attract moviegoers and generate

revenue, and in the movie to benefit economically from the reality the logo lends to its

scenes. Defendant’s use is not incidental. When viewing the logo placement in both the

trailer and the movie, the viewer will assume that the Plaintiffs endorse and/or approve

the use, however, the manner in which the logo is used would cause most viewers a



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mental association that would be unsavory, damaging, and/or unwelcomed by the

Plaintiff owners of the logo. Accordingly, the Defendant has diluted and falsely

advertised the logo, all to the detriment of the Plaintiffs.

        While the preview has been in the public domain for several weeks, the movie has

been released in two limited public engagements to date at the Venice and Toronto film

festivals. The movie’s expected release date to a general public audience in theatres was

September 27, 2019 and, thereafter, to millions of NETFLIX subscribers worldwide on

or about October 18, 2019.

        Notably, the anticipated release dates correspond with times during which the

Plaintiffs will be defending criminal charges against them in Panama. Moreover, the

charges against the Defendants were instituted notitia criminis - merely because the news

and/or media alleged or implied that the Plaintiffs were engaged in criminal activity. The

significance for this case is that new implications that arise in “The Laundromat,” will

likely precipitate Panamanian prosecutors to investigate any accusation or criminal

implications revealed therein. Thus, while the Plaintiffs have no connection to Cartel

murders or Russian gangster money laundering, an investigation into allegations made

directly and/or via innuendo in the movie, may subject Plaintiffs to unnecessary and

unwanted legal attention. Notably, the two current prosecutions have resulted in “country

arrest” and bail, and both cases were precipitated by media accounts of “Panama Papers”

allegations. With the release of the movie in Panama expected on October 18, 2019, and

elsewhere even earlier, the Plaintiffs could be subjected to additional bail and/or

conditions for each new crime imputed to them in the movie.




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        Additionally, since both MOSSACK and FONSECA are the subjects of an FBI

Investigation in the Southern District of New York that could result in a Trial in the

United States, the false “Big Screen” portrayal of their involvement in money laundering

and/or other financial crimes poses an immediate threat and harm to the Plaintiffs’ fair

Trial rights here. The Libelous representations made about Plaintiffs’ involvement in

criminal and unethical behavior, stand (1) to affect current criminal proceedings against

them in Panama, (2) precipitate additional criminal investigations in Panama, and (3) to

pollute a potential jury pool in a U.S. criminal prosecution.

        Ultimately, at the hands of the Defendant, the Plaintiffs unwarrantedly solidify a

global finance role as poster children for money laundering and tax evasion, complete

with a logo that the Defendant ensures will guarantee a mental association with crime and

corruption. Accordingly, in addition to damages, the Plaintiffs seek injunctive relief

preventing NETFLIX from defaming the Plaintiffs, or any of them, and disparaging and

misusing their protected logo(s) for economic gain. Given the nature of the gravamen

suffered, and the reputational and due process interests as stake, the Plaintiffs are

subjected to immanent and immediate irreparable harm for which they should be entitled

to injunctive relief.

                                     JURISDICTION

        This Court has subject matter jurisdiction over this action: (1) under 28 U.S.C. §

1332, since there is diversity of citizenship between Plaintiffs and Defendant, and the

amount in controversy (exclusive of interest and costs) exceeds the sum of seventy five

thousand dollars ($75,000.00); (2) under 28 U.S.C. § 1331, since claims herein arise

under the Constitution, laws and/or treaties of the United States, namely the Trademark



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Act of 1946, as amended, 15 U.S.C. §§ 1051, et. seq. (the “Lanham Act”) and/or the self-

executing 1929 General Inter-American Convention for Trade Mark and Commercial

Protection; (3) under the Trademark Act of 1946, as amended, 15 U.S.C. §§ 1051, et seq.

(the “Lanham Act”), via the 1929 General Inter-American Convention for Trade Mark

and Commercial Protection, a self-executing Treaty; and (4) under 28 U.S.C. § 1367, for

all state law claims pled herein, because those claims are joined with, and are so related

to Plaintiffs’ claims under the Trademark Act of 1946, as amended, 15 U.S.C. §§ 1051,

et. seq. (the “Lanham Act”) over which this Court has original jurisdiction, that they form

part of the same case or controversy under Article III of the United States Constitution.


       This Court has in personam jurisdiction over the Defendant in this action since the

Defendant is registered as a foreign corporation authorized to conduct business in the

State of Connecticut, and because Defendant regularly engages in business in this judicial

district, advertising and marketing its streaming video products, selling subscriptions, and

ultimately streaming programs into the State and the entire United States of America.


                                          VENUE

       Venue is proper in the District of Connecticut under U.S.C. § 1391(b), in that

claims and causes of action arise in this Jurisdiction.


                                     JURY DEMAND

Plaintiff respectfully demands a Trial by Jury pursuant to Fed. R. Civ. P. 38(b).




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                                FIRST COUNT
                           (Libel - As to All Plaintiffs)

           1. At all times material to this Complaint, Plaintiffs, JÜRGEN

MOSSACK and RAMÓN FONSECA, were licensed attorneys practicing law,

and residing in the Republic of Panama.

           2. At all times material to this Complaint, Plaintiff BUFETE MF & CO.

(hereinafter “MF”) was a Panamanian law firm, organized as a partnership, wholly

owned by its equal partners, Plaintiffs, JÜRGEN MOSSACK and RAMÓN

FONSECA, and duly registered under the laws of the Republic of Panama, with a

head office located at Edificio Mossfon, Segundo Piso, Calle 54 Este, Ciudad de

Panama.

           3. At all times material to this Complaint, MOSSACK FONSECA &

CO, S.A. (hereinafter “MFSA”), was a closely held Panamanian corporation duly

formed and existing under the laws of the Republic of Panama, wholly owned by its

two equal shareholders, Plaintiffs, JÜRGEN MOSSACK and RAMÓN FONSECA,

with a head office located at Edificio Mossfon, Segundo Piso, Calle 54 Este, Ciudad

de Panama.

           4. The Defendant, NETFLIX INC. (hereinafter “NETFLIX”), is a

diversified multinational media corporation duly formed and existing under the laws

of the State of Delaware, conducting business throughout the world, including in

Connecticut and the rest of the United States.

           5. Defendant NETFLIX operates and conducts business in the State of

Connecticut, and is registered as a Foreign Corporation authorized to conduct

business by the Connecticut Secretary of State, bearing Registration Number

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0735070, listing its principle head office address as 100 Winchester Circle, Los

Gatos, California.

             6. At all times material hereto, Plaintiffs, JÜRGEN MOSSACK,

RAMÓN FONSECA, MF and/or MFSA (hereinafter referred to collectively as

“MFGROUP”), jointly and/or individually, were primarily engaged in the business

of forming and maintaining offshore companies (hereinafter “products”) for clients,

corporate and/or otherwise, including, but not limited to, banks, law firms,

accountants and/or other institutional/professional clientele (hereinafter “original

clients”).

             7. MFGROUP’s products were sold in Panama and other countries

commonly referred to as “tax havens” where, until recently, corporate disclosures

have been limited and tax treatment has been favorable.

             8. In the course of business, the Plaintiffs and/or any of them, did not

counsel, advise and/or provide legal advice to ultimate end users (hereinafter

“UEUs”) to whom their products were sold by Plaintiffs’ original clients.

             9. In the course of it business, MFGROUP developed and maintained its

own compliance standards and procedures, and implemented and/or supplemented the

same as required and/or prescribed by the laws of Panama and/or any other

jurisdiction, within which any of its products were sold and/or maintained, including,

but not limited to, due diligence requirements mandating MFGROUP to know and

keep contemporary records identifying not only its original clients, but also UEU’s

when and where legally mandated to do so.




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            10. In or around 2014, in an effort to keep up with evolving "transparency

motivated” laws respecting due diligence, ongoing client and UEU data collection,

and client/UEU information disclosure, MFGROUP spawned a dedicated

“compliance arm” entity comprised of twenty or more employees located in El

Salvador.

            11. MFGROUP has served its clients and the industry for over forty-two

(42) years collectively, during which time it built a reputation of trust and

professionalism, and during which time it became a well-known worldwide leader in

the perfectly legal offshore corporate formation and maintenance industry.

            12. MFGROUP has generated significant profits organizing and selling

offshore companies, and charging fees for related corporate services including, but

not limited to, corporate record maintenance and/or annual filing and/or other

compliance related services.

            13. Likewise, MFGROUP has expended significant monies on client

development, branding, and marketing its products worldwide via sponsorship,

advertising, community activism, conferencing, charity and/or public service.

            14. In an effort to develop its brand, MFSA caused logos to be registered

in various jurisdictions including Panama, the European Union, and Colombia, the

same having been used in commerce worldwide and having generated significant

notoriety and fame.

            15. In efforts to expand its brand, attract business, generate and maintain

goodwill and value in its name, MFSA maintained and continues to enjoy the

protections of its trademarked logos in Colombia, to wit:



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duly registered with the Superintendencia Industria y Comercio, Republic of

Colombia, including (1) Expediente No. 10-053693 – Certificado de Registro

412048, (2) Expediente No. 10-053705 – Certificado de Registro 412052, and (3)

Expediente No. 10-053702 – Certificado de Registro 412051.

           16. For the last several years, MFSA expended many thousands of dollars

purchasing items bearing its logo, for use in MFSA branding and worldwide

marketing/advertising of its products and services.

           17. Likewise, at all times material to this Complaint, Plaintiffs JÜRGEN

MOSSACK and RAMÓN FONSECA, invested significant time, energy, and funds,

developing both their individual and corporate reputations.

           18. At all times material to this Complaint Plaintiffs, JÜRGEN

MOSSACK and RAMÓN FONSECA, promoted their company products and

contributed to the enhancement of the offshore industry by, inter alia, participating in

forums, holding/sponsoring seminars, accepting speaking engagements, advising

government officials, participating in charities, and maintaining membership in

groups such as the Chamber of Commerce and Rotary Club.

           19. MFGROUP’s involvement in community affairs, industry

enhancement, charitable works, and government advisement, enhanced and elevated

MFGROUP’s reputation both locally and worldwide; as lawyers and law firms,

MFGROUP enjoyed healthy and stellar reputations.

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               20. At all times material hereto, MFGROUP sought to expand further into

the industry and cultivate business opportunities throughout the world, using its brand

and the group’s collective reputations.

               21. In keeping with future plans of expansion in the industry, MF and/or

MFSA entered into contracts with independent contractor representatives in many

countries around the world (hereinafter “Representatives.”), including, but not limited

to the United Kingdom, Czech Republic, Switzerland, Peru, Ecuador, Brazil,

Singapore, Cyprus, Israel, Dubai, Thailand, Guatemala, Chile, and the United States

of America (Florida).

               22. Representatives were independent contractors separate and apart from

MF and/or MFSA, that were permitted exclusive rights to purchase and thereafter

sell MF and/or MFSA’s products and services, to newly acquired and/or existing

MFGROUP clients within specified jurisdictions in exchange for fees and/or

specified commissions agreed to between the parties.

               23. As part of the agreements, MFGROUP provided training and access

to proprietary software systems, and Representatives were permitted to use variations

of the MFGROUP names, along with MFSA’s logos, in the course of conducting

and developing business.

               24. Notably, as part of such agreements, Representatives undertook and

were contractually obligated to ensure legal compliance in their jurisdictions.

               25. The profits made upon agreements with Representatives were

significant.




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              26. Representatives utilizing the MFGROUP names and logo facilitated

MFGROUP’s branding efforts internationally, and enhanced its worldwide

reputation.

              27. Between selling its own products and services, and generating

Representative based income, MFGROUP enjoyed significant profits.

              28. In 2015, in what has been hailed but misnomered the largest “data

leak” in history, an anonymous whistleblower hacked 11.5 million MFGROUP

attorney-client privileged documents, and then sent the stolen documents to German

journalist Bastian Obermayer at the Suddeutsche Zeitung.

              29. The documents, commonly referred to as the “Panama Papers,”

partially and/or purportedly claimed to include information about many rich and

famous people in both the private and public sectors, and made reference to over two-

hundred-thousand (200,000) offshore entities created by Plaintiffs and/or any of them.

              30. Due to the size of the post-hack revelations, and an inability to

efficiently manage the data by himself, Obermayer enlisted the help of the

International Consortium of Investigative Journalists (hereinafter “ICIJ”).

              31.   Journalists from approximately 80 countries came together at

Obermayer’s behest and analyzed the hacked data for approximately one year, during

which time the inner workings of MF and/or MFSA, along with a dearth of stolen,

private and privileged documents were disseminated to the Consortium.

              32. The “hack and release” confirms that only an extremely minute

percentage of offshore corporations created by MF and/or MFSA appeared to have




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been utilized by some UEUs for criminal activity including, but not limited to, money

laundering, tax evasion, bribery and/or fraud.

           33. In or about April 2016, the first media accounts detailed the

connections between Government officials and offshore holdings, as well as others

involved in illegal activity, utilizing entities alleged to have been created by

MFGROUP.

           34. As a result of “hack and release” revelations, the Plaintiffs, or any of

them, were rumored to have dealt directly with and/or advised, assisted or counseled

heads of State and/or Government including, but not limited to, Russian President

Vladimir Putin, the father of former Prime Minister of England David Cameron,

former President of Ukraine Petro Poroshenko, former Iceland Prime Minister

Sigmunder Davio Gunnlaugsson, former Pakistan Prime Minister Nawaz Sharif,

and/or any of their relatives, agents, servants, employees and/or other representatives,

on the subject matter of tax avoidance, tax evasion, money laundering, fraud and/or

other crimes.

           35. As a further result of “hack-and release” revelations, the Plaintiffs, or

any of them, were rumored to have dealt directly with and/or advised, assisted or

counseled notorious drug Cartel and/or other Organized Crime leaders and/or any of

their relatives, agents, servants, employees and/or other representatives, on the subject

matter of tax evasion, money laundering, fraud and/or other crimes.

           36. As a further result of “hack and release,” MFGROUP, or any of

them, were rumored to have dealt directly with and/or advised, assisted or counseled

international football/soccer notables such as Lionel Messi and/or FIFA executives



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   such as its former President Gianni Infanti and/or any of their relatives, agents,

   servants, employees and/or other representatives, on the subject matter of tax evasion,

   money laundering and/or other crimes.

               37. The press and media generated by the Panama Papers hack, severely

   damaged MFGROUP’s client relations and ongoing business prospects.

               38. Immediately after initial news reports of hack revelations, and the

   rumors concerning MFGROUP’s alleged clients, banks and other third parties

   refused to do business with MF and/or MFSA.

               39. Immediately after the initial reports, and rumors concerning

   MFGROUP’s alleged clients, Plaintiffs all faced bank account closures and to date,

   all remain unable to bank anywhere in the world.

               40. In spite of many clients’ desire to continue working with

   MFGROUP, its inability to bank led to closure of its offices and ultimately the loss

   of its entire client base.

               41. As a result of investigations precipitated by the hack, JÜRGEN

   MOSSACK and RAMÓN FONSECA have been named as Defendants in legal

   proceedings in Panama by the Ministerio Publico-Fiscalia Auxilliar, to wit, one case

   commonly referred to as the “Lava Jato” case (Fiscal/Prosecutors File 06-2016, Court

   File Panama City 48931-19), and the second commonly referred to as the “Panama

   Papers” case (Fiscal/Prosecutors File 02-2016, Court File Panama City 87256-19 ).

               42. As a result of investigations and cases mentioned in paragraph forty-

one (41) of this Complaint, JÜRGEN MOSSACK and RAMÓN FONSECA have been

confined to the Republic of Panama, and are required to report to authorities twice a week



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as part of a bail order that also requires them to pay thousands of dollars to insurance

companies who underwrite bail bonds to the Panamanian authorities.

                 43. As a result of the “hack and release” investigations the Plaintiffs have

been forced to hire attorneys, and have suffered damage to the goodwill and value of their

businesses.

                 44. Due to the investigations, AIG, an international insurance company,

including its agents, assigns, successors, and/or other representatives, have refused to pay

the Plaintiffs, or any of them, substantial monies (millions) to which they are entitled

under multiple policies of insurance, citing the erroneous fact that the Plaintiffs, or any of

them, were involved in money laundering and/or other financial crimes.

                 45. In spite of being the targets of two Panamanian cases for

approximately four (4) years, no MFGROUP Plaintiff has ever been convicted of any

charged crime.

                 46. In or about November of 2017, a Pulitzer Prize winning investigative

journalist, Jake Bernstein (hereinafter “Bernstein”), wrote a book entitled “secrecy

World” based upon the “Panama Papers.”

                 47. Upon information and belief, Bernstein thoroughly researched the

nature and origin of the Panama Papers hack, and was part of the original team of ICIJ

journalists who reviewed the same.

                 48. Upon information and belief, and at all times material hereto,

Bernstein knew that post-hack publications were comprised of stolen attorney-client

privileged documents meant to remain confidential, and that only an extremely miniscule




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number of companies sold by Plaintiffs to original clients were connected to UEU

criminal activity; ultimately, such UEUs were not MFGROUP clients.

               49. Upon information and belief, Bernstein had a full opportunity to fact-

check the substance of the Panama Papers material he used to write his book.

               50. Upon information and belief, and at all times material to this

Complaint, Bernstein knew and/or should have known that sensationalized rumors

concerning MFGROUP’s involvement in criminal activity with notorious clients,

including those detailed in paragraphs thirty-four (34), thirty-five (35) and/or thirty-six

(36) of this Complaint, were patently false.

               51. Upon information and belief, at all times material hereto, Bernstein

knew that MFGROUP sold corporate services and products such as corporations and

other legal entities to third parties, such as banks, lawyers, accountants and/or other

professional institutions, and did not engage in advising any of its clients or UEUs on the

subject matters of tax evasion or ways to launder money.

               52. Upon information and belief, Bernstein wrote his book entitled

“Secrecy World,” for the purpose of making a profit.

               53. Bernstein spoke on occasion with Plaintiffs JÜRGEN MOSSACK

and RAMÓN FONSECA, however, neither of these Plaintiffs, nor any other duly

authorized MF and/or MFSA representative, authorized him to use the Plaintiffs’ names,

likenesses and/or intellectual property in his book.

               54. Bernstein’s book defames the Plaintiffs, casts them in the false light

of criminality, and contains unauthorized republications of MFSA’s logo.

               55. In spite of having spoken to Bernstein, neither JÜRGEN MOSSACK



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nor RAMÓN FONSECA endorses Bernstein’s book, its factual allegations and/or the

conclusions drawn therein.

                56. Neither JÜRGEN MOSSACK nor RAMÓFONSECA, have ever

associated directly and/or indirectly with Bernstein, his book and/or any matter related

thereto.

               57. The subject matter of Bernstein’s book is summarized on the front

cover of the same, where Bernstein “takes us inside the world revealed by the Panama

Papers, a landscape of illicit money, political corruption, and fraud on a global

scale,” and purportedly introduces the reader to a “hidden circulatory system flowing

beneath the surface of global finance, carrying trillions of dollars from drug trafficking,

tax evasion, bribery, and other illegal enterprises . . . mask[ing] the identities of the

individuals who benefit from these activities, aided by bankers, lawyers, and auditors

who get paid to look the other way.”

               58. Upon information and belief, Bernstein sought to capitalize on his

book, using claims that he personally spoke to JÜRGEN MOSSACK and RAMÓN

FONSECA and, therefore, these Plaintiffs endorsed and/or otherwise approved of the

factual allegations and/or conclusions drawn in his book.

               59. Upon information and belief, Bernstein approached NETFLIX and/or

NETFLIX approached Bernstein, about the prospect of making a movie about the

Panama Papers based upon Bernstein’s book “Secrecy World.”

                60. Upon information and belief, sometime in 2017 or 2018, Bernstein

and Defendant NETFLIX entered into a contract wherein the latter would produce and

distribute an “A” grade movie called “The Laundromat” based upon “Secrecy World,”



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and Bernstein would be paid in connection with the same.

               61. Upon information and belief, at all times material hereto, Bernstein

acted in concert and consulted with Defendant, NETFLIX, in relation to the production

of the movie based on his book.

               62. Upon information and belief, Bernstein represented to NETFLIX,

that he had spoken with JÜRGEN MOSSACK and RAMÓN FONSECA, implying that

these Plaintiffs directly and/or tacitly consented to Bernstein using their names,

likenesses and/or photos depicting them and/or MFSA’s protected logo.

                63. Upon information and belief, NETFLIX permitted, authorized, and

or licensed Bernstein’s use of its movie title “The Laundromat,” for Bernstein’s book

“Secrecy World.”

               64. Upon information and belief, NETFLIX knew or should have known

that the new book name “The Laundromat,” implied further that the book upon which its

movie was based was all about money laundering.

               65. Upon information and belief, NETFLIX knew or should have known

that the name change, against the backdrop of the movie’s cast of famous actors and

actresses, including Meryl Streep, Gary Oldman and Antonio Banderas, would draw

Bernstein’s readership’s attention and introduce them to its movie, against the backdrop

of the new libelous book title (“The Laundromat”), and the false and libelous statements

attributed to the Plaintiffs directly, impliedly and/or by innuendo, in the Defendant’s

movie “The Laundromat.”

               66. Bernstein changed the name of his book to “The Laundromat,” and

remarketed the same as renamed on Amazon, thereby aligning his book with the



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message, allegations, and other libelous characterizations of the Plaintiffs in NETFLIX’s

movie “The Laundromat.”

               67. The Amazon page where purchasers can buy the book reflects the

book’s updated title at https://www.amazon.com/Laundromat-Previously-published-

SECRECY-WORLD/dp/1250754402, stating that the book is now “[t]he Inspiration for

the Major Motion Picture from Director Steven Soderbergh, Starring Meryl Streep, Gary

Oldman, and Antonio Banderas.


               68. The movie-inspiring book is summarized on the Amazon page as
follows:

       In The Laundromat, two-time Pulitzer Prize–winning investigative reporter Jake
       Bernstein explores this shadow economy and how it evolved, drawing on millions
       of leaked documents from the files of the Panamanian law firm Mossack
       Fonseca―a trove now known as the Panama Papers―as well as other journalistic
       and government investigations. Bernstein shows how shell companies operate,
       how they allow the superwealthy and celebrities to escape taxes, and how they
       provide cover for illicit activities on a massive scale by crime bosses and corrupt
       politicians across the globe.

       Bernstein traveled to the Caribbean, Latin America, Europe, and within the
       United States to uncover how these strands fit together―who is involved, how
       they operate, and the real-world impact. He recounts how Mossack Fonseca was
       exposed and what lies ahead for the corporations, banks, law firms, individuals,
       and governments that are implicated.

               69. Would-be moviegoers reading the summary, boasting the names of a

   celebrity Director and famous actors apparently endorsing the book’s name change to

   the “Laundromat,” are drawn to the claim that Plaintiffs were “exposed” for

   providing “cover for illicit activities on a massive scale by crime bosses and corrupt

   politicians.”

               70. Upon information and belief, Bernstein personally and/or through

   agents, servants, employees and/or other representatives of himself and/or



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NETFLIX, wrote or caused the writing of the Amazon summary, noting the book’s

name change and its connection with “The Laundromat” movie.

            71. Upon information and belief, NETFLIX endorsed and/or approved

the book summary to generate hype about its upcoming movie “The Laundromat.”

            72. NETFLIX based its movie “The Laundromat” on Bernstein’s book,

wherein the Plaintiffs, via implication and innuendo, are involved in illicit and

criminal conduct with organized crime bosses and corrupt politicians.

            73. Based upon information and belief, Defendant NETFLIX authorized

the book’s name change, and approved Bernstein’s Amazon advertisement using the

names of Steven Soderbergh, Gary Oldman, and Antonio Banderas, along with the

summary characterizing MF and/or MFSA as a criminal enterprise assisting the likes

of crime bosses and corrupt politicians.

            74. The claim that MF and/or MFSA arranged shell corporation “cover,”

or otherwise assisted or consulted with the likes of crime bosses and corrupt

politicians, is patently false.

            75. Upon information and belief, Bernstein and Defendant NETFLIX

knew or ought to have known, that MFGROUP never assisted or consulted with

crime bosses and/or corrupt politicians.

            76. In spite of knowledge of its falsity, libelous nature and/or its

propensity to place the Plaintiffs in a false criminal light, NETFLIX willfully

authorized the book’s name change and the use of the movie name, along with those

of participating actors, and the summary on the Amazon web page where Bernstein

sold his book.



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               77. Further, in order to attract moviegoers and increase potential profits,

   NETFLIX produced a movie preview and/or “trailer” which libels the Plaintiffs

   directly, indirectly and/or by innuendo.

               78. The official NETFLIX trailer is posted on YouTube at

   https://www.youtube.com/watch?v=wuBRcfe4bSo.

               79. In the trailer, Defendant NETFLIX portrays the Plaintiffs as ruthless,

   uncaring and unethical lawyers involved in money laundering, tax evasion and/or

   other criminal activities that benefit wealthy people and/or dangerous criminals.

               80. Academy award winner Gary Oldman plays Plaintiff, JÜRGEN

   MOSSACK, whose real name is used in the film.

               82. Antonio Banderas plays Plaintiff, RAMÓN FONSECA, whose real

   name is also used in the film.

               83. The trailer begins at 14 through 22 seconds with several screen shots

containing solely words, asking the question “how do 15 million millionaires in 200

countries stay rich . . . [answer] with lawyers like these,” followed by a screen shot of

Oldman and Banderas dressed in flashy clothing laughing sinisterly.




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               84. In the movie, famous academy award winning actress Meryl Streep,

playing Ellen Martin, a recently widowed wife who lost her beloved husband on a fall

boat tour, pursues justice after being told by her lawyer that a de minimis settlement with

the tour operator was related to a recent change in the responsible tour operator’s

insurance company; essentially, the new offshore insurer was insolvent and/or non

existent.

               85. Explaining the insurance news to Streep in the preview at 28 to 30

seconds, the lawyer states “so there is confusion over who has to pay.”

               86. Streep, responding to the lawyer in the preview at 30 to 35 seconds,

responds: “so they drown you and 20 twenty other innocent people,” while another voice

adds “and somebody’s making money off it.”

               87. The trailer dialogue between Streep and her lawyer spans clips of

Streep mourning at a funeral, and when the clip reverts back to her lawyer’s law office at

35 to 38 seconds, she is given the settlement check and told by him that: “it all goes back

to this law firm Mossack Fonseca.”




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               88. The trailer viewer quickly understands that MOSSACK and

FONSECA are villains, profiting from the death of 20 people killed in the small town

boat tour, as the lawyer states between 53 and 54 seconds “they (MF and/or MFSA) are

getting away with murder.”

               89. The criminal conduct imputed to MF and/or MFSA, is supplemented

seconds later from 1:11 to 1:18 seconds of the trailer, when the FONSECA character

asks the audience: “So how does it all work,” and while Streep and her daughter are

pushing a cart in a grocery store, the answer is provided as Streep exclaims: “bribery,

corruption, money laundering, millions and millions and millions of dollars,” while

another clip pans to a “download” of the hacked panama papers revealing its “progress”

at “698, 285” of “11, 523, 218. ”




               90. The “download” clip in the trailer purports to be the notorious 11.5

million hacked MF documents sent to a German reporter who enlisted the International

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Consortium of Investigative Journalists (“ICIJ”) to unleash the stolen data worldwide, in

articles and other media accounts of politicians, criminals, and other wealthy people

using offshore companies to hide assets and launder money.

               91. The download scene in the preview is followed by a voice at 1:16 to

1:23 seconds stating that “somebody needs to sound the alarm,” whereupon Banderas is

bombarded with the ringing and beeping of multiple phones, as other clips of people

apparently connected to offshore accounts and/or purported clients exclaim “shit” and/or

other expletives in different languages, including (1) an English speaking lady at a bar,

(2) a gentlemen dressed in garb resembling a Sheik, (3) two Russian gangsters, and (4)

the wife of a Chinese politician with soldiers outside her car window.

               92. The final seconds of the trailer depict Oldman and Banderas in a

Board Room in front of a huge flat screen television projecting a still screen shot of the

MF logo which includes the names of Plaintiffs, MOSSACK and FONSECA, flanking a

symbol of the four corners of the world, as the two actors look at each other with

astonishment, bearing “we’ve been outed” expressions.




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               93. In the full movie, the main character’s plot involving Ellen (played by

Meryl Streep) is one outlet for defaming the Plaintiff’s via scenes juxtaposed to imply

criminality. For example:

       (a) at about 20 through 23 minutes into the movie, the FONSECA character says:
       “How does it all work these offshore companies? Your vision leads you to a
       place that deals in money. A bank, a big bank, probably in Europe, you find
       yourself sitting across from a wealth manager, financial advisor, a banker that lets
       out your fears . . . income tax, estate tax, inheritance tax, capital gains tax . . .
       [he] suggests you set up an offshore company where your assets will be safe from
       scrutiny, that’s where we come in. We supply your shell company that holds your
       assets, you’re not the company, even if the company is you. Confused yet . . . we
       give this entity a name . . . you don’t need office space you don’t employees . . .
       exists on paper only. What does this company make, what goods and services do
       they supply? Privacy. Its nothing more than an email address and a post office
       box in a country where the laws are favorable to your financial goals. Where do
       you find such country . . . [MOSSACK character]; usually in the middle of the
       ocean, maybe in the Seychelles . . ..”

The movie then switches scenes to Ellen (Meryl Streep) in her lawyer’s office where they

discuss her just being satisfied with the settlement she received due to not having

insurance proceeds, because of an offshore entity set up the way the FONSECA

character describes, in a location in the middle of the “ocean” like the MOSSACK

character suggests. And then:

       (b) at about 25 through 26 minutes into the movie, David Schwimmer playing
       tour boat owner is sitting with a Federal Agent character, who explains to him that
       there never really was an insurance company that insured his company stating:
       “there was no Global Property Owner’s Association . . . [and] no Monarch, never
       really was . . . its just a scam that goes through Houston, the West Indies to
       Panama, to some bank to who knows where, looks like an 18 U.S.Code 1343 . . .
       Fraud.

Placed together with the statement “it all goes back to this law firm Mossack and

Fonseca,” these scenes link MFGROUP, by implication, omission of material facts, and

innuendo, with the crimes at issue in Ellen’s settlement situation, namely Fraud, Wire

Fraud and/or Conspiracy.

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               94. The full movie “The Laundromat,” contains a sub-plots, that including

one where a man is killed and buried unceremoniously by a Cartel group in relation to

money laundering activity impliedly shielded by a shell corporation created by MF

and/or MFSA.

               95. The movie also unfolds a sub-plot involving Russian gangsters

laundering money through the purchase of real property by shell corporations; the same

characters are linked to MF and/or MFSA as clients in later scenes that depict the

Panama Papers download, followed by a quick scene flash to other purported

MFGROUP clients shouting expletives in different languages, as they discover the hack

has revealed their information.

               96. The movie unfolds another sub-plot depicting a wealthy African

businessman/politician whose infidelity with his daughter’s roommate precipitates a

secrecy deal with his daughter, paid for by interests in an offshore company with a hefty

bank account. When the daughter attempts to collect the money, she is met by Oldman in

a MF and/or MFSA office whereupon she is told there is no money left for her to collect.

               97. The African businessman/politician scene links JÜRGEN

MOSSACK, MF and/or MFSA, to the scam that was perpetrated upon her by her

father, where corporate ownership can be undermined conveniently by the conduct of a

puppet director and/or other representatives, who can easily move money from one shell

corporation to another, in order to avoid legitimate creditors and/or shareholders from

collecting or liquidating.

               98. Upon information and belief Defendant, NETFLIX, at all times

material hereto, knew or ought to have known that the Cartel scenes, the Russian gangster



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scenes, the African Businessman scenes, and the juxtaposition of several main plot

themes suggesting criminal Fraud (hereinafter “insurance fraud scenes”), would tend to

defame MFGROUP by implication and innuendo, and portray them in a false light as

criminals.

                99. Upon information and belief, NETFLIX knew or ought to have

known that MFGROUP did not engage in transactions such as those depicted in the

Cartel scenes, the Russian Gangster scenes, the insurance fraud scenes and/or the African

businessman scenes, all of which depict and imply criminal and/or unethical transactions

and MFGROUP’s involvement and/or complicity therein.

                100. Upon information and belief, NETFLIX knew and/or should have

known, that false statements, representations, implications, omissions of material fact

and/or juxtaposition of key facts concealing the truth, directly, indirectly and/or via

innuendo, imparting criminal conduct to MFGROUP rooted in the Cartel, Russian

gangster, insurance fraud and/or African businessman scenes, were and continue to be

false.

                101. NETFLIX also willfully used MFSA’s trademarked and/or

protected logo in its movie “The Laundromat” and its trailer, without permission, license,

assignment, and/or any other authority from MFSA.

                102. The NETFLIX trailer and movie utilize one or more of MFSA’s

trademarked logos that are registered in Colombia and protected under the 1929 General

Inter-American Convention for Trade Mark and Commercial Protection, a self-executing

Treaty wherein both Colombia and the United States are member States, and wherein




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member states are authorized to pursue protection and infringement claims using the legal

system in the member State of the offending party.

                 103. The logos are used approximately 8 times between NETFLIX’s

trailer and “The Laundromat” movie, to wit:

                 a.   once exposed on the side of a building;
                 b.   once on a client folder;
                 c.   twice behind a transparent door in an office;
                 d.   once on a background re-broadcast of a CNN news segment;
                 e.   three times (once for 30 seconds) on background televisions.


                 104. Further, in the course of the movie and its trailer, the Defendant also

uses the Plaintiffs’ already public, famous and/or notorious trademarked logos

disparagingly.

                 105. The Defendant’s use and display of the logos in its movie “The

Laundromat,” greatly diminishes and/or dilutes their value and goodwill.

                 106. Defendant’s movie and its trailer also utilize the logos disparagingly,

placing them in scenes that allow viewers to associate the logos with serious criminal and

unethical behavior.

                 107. NETFLIX’s actions infringe upon the protected logos, disparaging

and diluting the same for no necessary or colorable artistic purpose and/or constitutional

benefit of expression.

                 108. NETFLIX’s trailer and movie have generated reviews that further

defame the Plaintiffs, and hold them in the false light of criminality.

                 109. The multitude of reviews are indicative of the manner in which

viewers perceive MFGROUP, against the backdrop of NETFLIX’s “The Laundromat,”

including a somewhat poor review by the BBC which, notwithstanding its artistic

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expectations, still attributes criminal conduct to MFGROUP stating, inter alia, that the

movie is “a light larky skim over ‘the subject,’ that . . . might cause viewers tutting and

chuckling over Mossack Fonseca’s crimes and misdemeanours, [but] it won’t have them

rushing to the barricades. See http://www.bbc.com/culture/story/20190902-film-review-

venices-biggest-disappointment.

                 110. Reviewing NETFLIX’s movie “The Laundromat,” Paste magazine
writes:

           The founders of this establishment, Jürgen Mossack (Gary Oldman) and Ramón
          Fonseca (Antonio Banderas) are the architects of an underworld of secrecy and
          corruption, and if their flashy outfits, private jets and carefree demeanors are any
          indication, they thrive off those they scam without any guilt. See
          https://www.pastemagazine.com/articles/2019/08/post-322.html

                 111. Reviewing NETFLIX’s movie “The Laundromat,” Denofgeek
writes:

           The Panama Papers were the documents at the center of the largest data leak in
          corporate and government history. More than 11 million records were leaked
          about Panamanian law firm Mossack Fonseca, of Jürgen Mossack (Oldman) and
          Ramón Fonseca (Banderas), which allowed the wealthy to funnel money illegally
          in and around the world. See https://www.denofgeek.com/us/movies/meryl-
          streep/273469/laundromat-steven-soderbergh-netflix.

                 112. Reviewing NETFLIX’s movie “The Laundromat, mxdwn.com

writes:

          The Laundromat is based on the book Secrecy World: Inside the Panama Papers
          Investigation of Illicit Money Networks and the Global Elite by Jake Bernstein,
          which tells the story of the documents known as the Panama Papers. The Papers,
          which were leaked in 2015, revealed how Panamanian law firm Mossack Fonseca
          illegally funneled money for the wealthy in Panama and worldwide. See
          https://movies.mxdwn.com/news/meryl-streep-to-star-in-panama-papers-film-the-
          laundromat/.




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               113. Reviewing NETFLIX’s movie “The Laundromat” Deadline.com

writes:

               Pic centers around one of the largest money laundering schemes ever. The
               Panama Papers refers to the documents that linked money laundering to
               politicians and powerful higher-ups such as U.S. President Donald Trump.
               The documents came to light due to a whistleblower with knowledge of
               the Mossack Fonseca law firm. Schwimmer plays Matthew Quirk, an
               attorney who speaks on behalf of one of the insurance companies after 20
               elderly passengers die on a boating excursion. The boating company
               learned its insurance isn’t the large company it thought it was, but merely
               just a P.O. box in Nevis. Quirk commits suicide after seeing no way out of
               the liability situation, but the incident triggers lawyers, government
               officials, and more to track down these shell companies. Those
               investigations lead to the laundering geniuses at the Panama-based law
               firm Mossack Fonseca, who created hundreds of thousands of
               “companies” to help the wealthy avoid paying taxes. See
               https://deadline.com/2018/10/netflix-the-laundromat-robert-patrick-
               steven-soderbergh-1202486204/.

               114. Reviewing the NETFLIX movie “The Laundromat” IndieWire

writes:

               The 11.5 millions documents showcased global tax evasion by thousands
               of companies registered with Mossack Fonseca, covering up an astounding
               list of criminal activities . . . “The Laundromat” grows far more intriguing
               when it settles into a series of overlapping dramas to illustrate the sheer
               international scale of Mossack Fonseca’s corruption. See
               https://www.indiewire.com/2019/09/the-laundromat-review-steven-
               soderbergh-1202170171/

               115. Reviewing NETFLIX’s movie “The Laundromat” The Guardian

web-page article states:

               The Laundromat - “based on actual secrets” and adapted from a non-
               fiction book by Jake Bernstein - does a fine job in making a drama out of
               this financial crisis . . . [b]ow your heads in remembrance of Mossack
               Fonseca, the best law firm you never heard of, the world’s fourth largest
               provider of offshore financial services. For decades it operated quietly,
               diligently under the radar of public scrutiny, shepherding its anxious
               clients through a mystifying array of global tax evasion schemes until the
               release of the Panama Papers in 2016 metaphorically pissed on everyone’s



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              chips. Next thing you know, the office has been raided, its directors are in
              jail and the golden age is over, or at least under audit.

              Mossack and Fonseca prize discretion above all things, except possibly
              money. Naturally, they would “prefer not to know” about the sometimes
              shady provenance of the clients on their books. The drug kingpins and sex
              traffickers. The traders in human organs. But happily Soderbergh has no
              such qualms. So he throws in the tale of a murder inside a business hotel
              and another about a philandering businessman who buys his daughter’s
              silence with inflated share options. These case studies are presented with a
              twinkle of good humour. They play like jaunty little sitcoms but carry the
              distinct whiff of sulphur. See
              https://www.theguardian.com/film/2019/sep/01/the-laundromat-review-
              gary-oldman-spins-lies-to-meryl-streep-in-sparkling-
              comedy?CMP=Share_AndroidApp_ProtonMail

              116. Reviewing NETFLIX’s movie “The Laundromat” the widely read

“LA Times” website states:

              Neither Bernstein’s book nor Soderbergh’s movie would exist without the
              2015 leak of an enormous trove of documents from Mossack Fonseca, a
              Panamanian law firm whose money-laundering operations were found to
              have provided cover for all manner of criminal activities worldwide. In a
              movie with more than a few false aliases, it spoils nothing to point out that
              Banderas and Oldman are in fact playing the firm’s chief partners, Ramón
              Fonseca and Jürgen Mossack (which partly explains Oldman’s comically
              exaggerated German accent). See
              https://www.latimes.com/entertainment-arts/movies/story/2019-09-25/the-
              laundromat-review-netflix-meryl-streep


              117. Reviewing NETFLIX’s movie “The Laundromat” the influential

“NY Times” website states:

              Ellen Martin, a Michigan grandmother whose attempts to do apparently
              straightforward things like settle an insurance claim and buy a new condo
              are ensnared in complicated schemes that defy rational comprehension.
              The companies she deals with are shells within shells, paper entities
              confected in the Mossack Fonseca offices, where accountability is
              laundered along with money. See
              https://www.nytimes.com/2019/09/25/movies/the-laundromat-review.html




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            118. At all times material hereto NETFLIX was aware that movie critic

    reviews would follow the release of “The Laundromat,” and with a cast including

    Streep, Oldman, and Banderas, along with reputed Director Steven Soderbergh,

    such reviews would draw the attention of media giant websites such as

    nytimes.com and/or latimes.com, and others who would publish and entrench

    libelous content into the internet worldwide.

            119. Upon information and belief, NETFLIX knew and/or ought to have

    known that its movie “The Laundromat” would generate reviews that would be

    libelous, and cast MFGROUP in a false criminal light, regardless of any

    reviewing purpose to rate the movie artistically and/or for box-office success.

            120. The false statements, implications, and innuendo that are contained

    in NETFLIX’s movie “The Laundromat” and its trailer, do not constitute

    protected speech.

            121. NETFLIX has already published false and libelous material to

international audiences as well as movie reviewers, and intends to continue

publication of the same after releasing “The Laundromat” in theatres in the United

States on September 27, 2019, and to its millions of its streaming subscribers on or

about October 18, 2019.

            122. Upon information and belief, Defendants knew or should have

known, that statements, representations, depictions, and resulting implications and

innuendo contained in “The Laundromat” were false and did not accurately reflect

real life events.




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            123. NEXTLIX intentionally, maliciously and/or in reckless disregard of

the truth has and will continue to publish its movie in theatres and throughout the

world.

           124. At all material times Plaintiffs had, and continue to have, interests in

protecting their personal and professional reputations for various purposes, including

resurrecting their business in order to earn a living and/or defending themselves in the

context of a fair Trial in present and/or anticipated criminal proceedings, including

proceedings pursuant to any forthcoming Indictment in the Southern District of New

York, where Plaintiffs deserve due process, a fair trial, and an “unpolluted” jury pool.

           125. The false statements, misrepresentations, implications, omission of

material facts and/or strategic juxtaposition of key facts to conceal the truth, directly,

indirectly and/or by innuendo converge against MFGROUP in NETLIX’s “The

Laundromat,” in a manner subjecting Plaintiffs to shame, scorn, ridicule, hatred,

mistrust, contempt, disgust and/or public opprobrium before a substantial number of

community members.

           126. As a direct and proximate result of the false and libelous

representations made in “The Laundromat,” members of the public have been led to

believe that Plaintiffs are individuals with aberrant personalities.

           127. As a direct and proximate result of the false and libelous

representations made in “The Laundromat,” Plaintiffs’ personal and professional

reputations have been injured.

           128. As a direct and proximate result of the false and libelous

representations made in “The Laundromat,” friends, relatives, professional



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   acquaintances and clients have been deterred from associating with or dealing with

   the Plaintiffs either personally and/or professionally.

               129. The acts of the Defendant, NETFLIX, in making false statements,

   misrepresentations, implications, omission of material facts and/or strategic

   juxtaposition of key facts to conceal the truth, directly, indirectly and/or by innuendo,

   constitute Libel as against all Plaintiffs.

               130. The acts of the Defendant, NETFLIX, have caused immanent and/or

   immediate and irreparable harm to the Plaintiffs.

               131. The acts of the Defendant cannot be remedied by money damages

   alone, and the Plaintiffs, MFGROUP, currently stand without adequate remedy at

   law to address the gravamen caused by NETFLIX.

               132. The acts of the Defendant have caused injury to Plaintiffs, and they

   are entitled to damages and/or injunctive relief in connection with said injuries.

                                     SECOND COUNT
                             (Libel Per Se - As to All Defendants)

               1 to 128. Paragraphs one (1) through one-hundred-and-twenty-eight (128)

of COUNT ONE, are repeated and realleged as if the same were fully set forth in this

SECOND COUNT.

               129. Defendant’s false statements, misrepresentations, implications,

omission of material facts and/or strategic juxtaposition of key facts to conceal the truth,

directly, indirectly and/or by innuendo, constitute Libel per se, inasmuch as the same

converge to accuse the Plaintiffs of committing crimes of moral turpitude and/or crimes

punishable by imprisonment.




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               130. The acts of the Defendant have caused immanent and/or immediate

   irreparable harm to the Plaintiffs.

               131. The acts of the Defendant NETFLIX cannot be remedied by money

   damages alone and Plaintiffs, MFGROUP, stand without adequate remedy at law to

   address the gravamen caused by NETFLIX.

               132. The acts of the Defendant have caused injury to Plaintiffs, and they

   are entitled to damages and/or injunctive relief in connection with said injuries.


                                    THIRD COUNT
                       (False Light Privacy - As to All Defendants)

               1 to 128. Paragraphs one (1) through one-hundred-and-twenty-eight (128)

of the FIRST COUNT, are repeated and realleged here as if the same were fully set forth

in this THIRD COUNT.

               129. The aforementioned actions of Defendant were done intentionally,

without lawful excuse, privilege, justification, or statutory authority, and/or under a void

process.

               130. The Defendant NETFLIX performed acts and engaged in conduct,

against the Plaintiffs’ will and without consent, constituting an invasion of Plaintiffs’

privacy by placing them in a false light before the public, to wit, portraying them as

unethical and ruthless lawyers guilty of money laundering, tax evasion and/or other

criminal conduct.

               131. At all times material to this Complaint, NETFLIX knew and

continues to know of the falsity of its representations proper and/or via implication,

omission of material facts and/or juxtaposition of key facts to conceal the truth, directly,



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indirectly, or via innuendo, yet the Defendant has and continues to act with reckless

disregard for the truth, continuing intentionally and/or recklessly to cause Plaintiffs to be

portrayed in a false light in the movie “The Laundromat.”

               132. At all times material to this Complaint, Plaintiffs had a reasonable

expectation of privacy in not being placed before the public in a false light.

               133. The aforementioned actions and/or omissions of the Defendant

constitute a violation of Plaintiffs’ reasonable expectations of privacy, and amount to

conduct that would be highly offensive to a reasonable person of ordinary sensibility,

constituting an actionable false light invasion of privacy as against the Plaintiffs.

               134. As a direct and proximate result of the aforementioned

representations made by NETLIX, Plaintiffs’ reputations have and will continue to be

severely damaged.

               135. The acts of the Defendant have caused immanent and/or immediate

   and irreparable harm to the Plaintiffs.

               136. The acts of the Defendant cannot be remedied by money damages

   alone, and Plaintiffs stand without adequate remedy at law to address the gravamen

   caused by NETFLIX.

               137. The acts of the Defendant have caused injury to Plaintiffs, and they

   are entitled to damages and/or injunctive relief in connection with said injuries.

                               FOURTH COUNT
      (Trademark Dilution/Tarnishment under 15 U.S.C. 1125(c) – As to MFSA)

               1 to 128. Paragraphs one (1) through one-hundred-and-twenty-eight (126)

of the FIRST COUNT, are repeated and realleged here as if the same were fully set forth

in this FOURTH COUNT.

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               129. At all times material to this Complaint MFSA held a valid and

trademarked logo registered in the country and members state of Colombia, which it

validly maintained by complying with all of the domestic laws of said member state.

               130. At all times material to this Complaint, MFSA’s logo was used by

MFSA, its agents, servants and/or Representatives, in business and commerce, in

Colombia and world wide, in countries including, but not limited to, Panama, United

Kingdom, Czech Republic, Switzerland, Peru, Ecuador, Brazil, Singapore, Cypress,

Israel, Dubai, Thailand, Guatemala, Chile, and the United States of America.

               131. At all times material hereto, MFSA’s logos were widely recognized

by consumers in Plaintiffs’ industry and became famous well prior to NETFLIX’s

unlawful use of the logo.

               132. At all times material to this Complaint, NETFLIX had actual and/or

constructive knowledge of MFSA’s ownership and/or use of the logo in commerce.

               133. Defendant has used, is using, and has caused others to use MFSA’s

logos in commerce, in connection with the advertising, promotion, and sale of their

products and services, to wit, using the logo in a movie trailer to advertise and/or promote

NETFLIX’s movie “The Laundromat” and, additionally, using the logo in said movie to

sell tickets, passes, subscriptions, and/or any entry or access instrument permitting people

to pay for and view said movie.

               134. NETFLIX’s use of MFSA’s logo against a backdrop of allegations

and/or innuendo that MFSA is involved in money laundering, tax evasions, corruption

and/or other crimes, has precipitated an undesirable, unwholesome, unwelcomed and/or

unsavory mental association with the logo.



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               135. NETFLIX’s use of MFSA’s logo against a backdrop of allegations

and/or innuendo that MFSA is involved in money laundering, tax evasions, corruption

and/or other crimes, places the logo in the false light of criminality, and in a degrading

context, thereby harming and diminishing the logo’s goodwill, utility, value, and business

reputation.

               136. By creating negative mental associations with MFSA’s logo, and

exposing the same in the false light of criminality, NETFLIX’s actions have diminished

the present and future value of the logo in commerce.

               137. NETFLIX’s use of MFSA’s logo is likely to impair its

distinctiveness by causing consumers to no longer associate the logo solely and

exclusively with MFSA.

               138. At all times material to this Complaint, NETFLIX had alternative

means outside of MFSA’s logo placement in its movie to achieve any necessary and/or

desired commentary, speech and/or artistic message.

               139. The logo is used significantly in the movie and promotional material,

and upon information and belief, NETFLIX used and continues to use the logo for the

sake of making its movie scenes true to reality in an effort to maximize viewer

appreciation and thereby increase profits.

               140. The acts of the Defendant have caused immanent and/or immediate

   and irreparable harm to the Plaintiffs.

               141. The acts of the Defendant cannot be remedied by money damages

   alone, and Plaintiffs stand without adequate remedy at law to address the gravamen

   caused by NETFLIX.



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               142. The acts of the Defendant have caused injury to Plaintiffs, and they

   are entitled to damages and/or injunctive relief in connection with said injuries.

                                    FIFTH COUNT
               (Federal False Advertising In Violation Of 15 U.S.C. § 1125)

               1 to 128. Paragraphs one (1) through one-hundred-and-twenty-eight (128)

of the FIRST COUNT, are repeated and realleged here as if the same were fully set forth

in this FIFTH COUNT.

               129. Defendant is distributing, has distributed, and has caused others to

distribute, materials that misrepresent NETFLIX’s use of MFSA’s logo, as permissible

use, authorized, licensed, assigned, sponsored and/or otherwise endorsed by MFSA,

when in fact the same is patently false.

               130. NETFLIX’s false and/or misleading statements misrepresent the

nature, characteristics, and qualities of the Plaintiffs’ products, services and/or

commercial activities, and thereby deceived and are likely to continue to deceive the

public in violation of 15 U.S.C. § 1125.

               131. At all times material to the Complaint, NETFLIX’s unlawful

conduct was and continues to be knowing, willful, deliberate, and undertaken in bad

faith, in that Defendants knew and/or ought to have known that at the time it made said

statements and/or representations the same were false and/or misleading, and designed

solely to increase “The Laundromat’s” ticket and subscription sales, and otherwise

enhance Defendant’s revenues.

               132. As a result of NETFLIX’s unlawful conduct, MFGROUP and/or

MFSA individually have suffered and are likely to continue to suffer damages, while

Defendants have profited and/or have been unjustly enriched.

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               133. The acts of the Defendant have caused immanent and/or immediate

   and irreparable harm to the Plaintiffs.

               134. The acts of the Defendant cannot be remedied by money damages

   alone, and Plaintiffs stand without adequate remedy at law to address the gravamen

   caused by NETFLIX.

               135. The acts of the Defendant have caused injury to Plaintiffs, and they

are entitled to damages and/or injunctive relief in connection with said injuries.

               WHEREFORE, the Plaintiffs pray this Court grants:

               1.      Injunctive relief, including a Temporary Restraining Order,
                       Preliminary Injunction and/or a Permanent Injunction

               2.      Compensatory Damages;

               3.      Compensatory Damages under 15 U.S.C. § 1117 ;

               4.      Enhanced or treble damages under 15 U.S.C. § 1117;

               5.      Attorneys’ fees and costs under 15 U.S.C. § 1117;

               6.      An accounting of profits derived by Defendants under 15 U.S.C. §
                       1117;

               7.      The Costs of this Action;

               8.      Prejudgment and post-judgment interest;

               9.      That this Court permit the service of the Complaint, associated
                       motion papers, and any Court order upon Defendants and their legal
                       representatives by email and FedEx pursuant to Federal Rule of Civil
                       Procedure 4(f)(3); and/or

               10.   Such other relief as this Honorable Court may deem just and proper.




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